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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JANE W., In Her lnd,ividual Capacity,
And In Her Capacity As The
Personal Representative Of The
Estates Of Her Relatives, James W.,
Julie W., And Jen W., et al.,                               CIVIL ACTION

                Plaintiffs,                                 NO. 18-0569
       v.

MOSES W. THOMAS,

               Defendant.

                                    /.J...
       AND NOW, this          ).~      day of February, 2020, IT IS HEREBY ORDERED AND

DECREED that Defendant comply with the Court' s Order Granting Plaintiffs' Motion to

Compel Responses to Plaintiffs' First Set of Document Requests and First Set of Interrogatories

(Doc. 45) on or before Monday, April 27, 2020. Defendant' s failure to comply with this Order

will result in Court ordered sanctions.




                                                            BY THE COURT:




                                                            Hon. Petrese B. Tucker, U.S.D.J.
